       Case 1:20-cr-00661-CM Document 32 Filed 03/02/22 Page 1 of 1
        Case 1:20-cr-00661-CM Document 31 Filed 03/01/22 Page! of~.:

                                                                                               I
                                                                                              'i
 SPODEK                                                                                        I
 LAW                                                                  f"'c:Ogd~ A. Sp , ~k, Esq.
 GROUPP.c.                                                 -~\t',()'{"-~'t:iirect Dia: (3 , ) 92-8633
                                                      ,/'\ ~\~\...-        ts@s~od kla
                                             ,-,,."vhv
                                           ti,,'(,.\
                                                                               ,
                                           1, J l,t




March 1, 2022

BY ECFTO:

Judge Colleen McMahon
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
New York, NY 10007

             RE:    United States v. Amir Bruno Elmaani
                    Case No.: 20-cr-00661-1 (CM)
                    Southern District of New York

Dear Judge McMahon:                                                            :

      Please be advised that I represent Amir Elmaani in the abovl>-ref re lc, ,d action.
As per Your Honor's January 27, 2022 Order the parties were to sub it j int letter
proposing a motion schedule today for Your Honor's consideration. ,          ,' j

      Due to the voluminous discovery in this matter, and the time requi ed o review it,
the parties jointly request a four (4) week adjournment to submit f prlopo ~ motion
schedule to the court.                                                      'I

       Thank you for your consideration.

                                      Sincerely,

                                Spodek Law Group P.C.
                                  /S/ Todd A. Spodek

TS/az
cc:   All Counsel (By ECF).


                                                                      USDGSDNY
                                                                      DOCUMENT
                                                                                         l:I
                                                                      ELECTRO~! A              I FILED
                                                                      DOC #: --+--!l-1-++-:--+-~
                                                                       ,       I


                                                                      DATE FIL,ED
                                                                                                         ...J



                                                                                         I     i
                                                                                         I'    I




                                                                                         I     i
                                                                                         I I
